     Case 2:17-cv-11033-RSW ECF No. 21 filed 12/19/17                 PageID.68    Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                    )
                                                  )
               Plaintiff,                         )     Case No. 2:17-cv-11033-RSW
v.                                                )
                                                  )
N Dahlmann Knollwood LLC, a Michigan              )     Judge: Magistrate Judge R. Steven Whalen
limited liability company,                        )
                                                  )
And                                               )
                                                  )
 HOBBS KNOLLWOOD LLC, a Michigan                  )
limited liability company

               Defendants.


                                         STIPULATION

        Pursuant to a confidential Release and Settlement Agreement entered into between the

parties, the parties stipulate that this case may be dismissed with prejudice and without costs.

The parties further stipulate that the Court may retain jurisdiction over this matter to enforce the

terms of the Release and Settlement Agreement.


                                      Respectfully submitted,


Dated: December 1, 2017                          Dated: December 1, 2017

/s/ Owen B. Dunn, Jr.                                 /s/ James A. Fajen

Owen B. Dunn, Jr., MI Bar no. P66315                  James A. Fajen
Law Offices of Owen Dunn, Jr.                         Fajen and Miller, PLLC
4334 W. Central Avenue, Suite 222                     3646 West Liberty
Toledo, Ohio 43615                                    Ann Arbor, MI 48103
V: (419) 241-9661 F: (419) 241-9737                   Phone - (734) 995-0181
dunnlawoffice@sbcglobal.net                           Fax - (734) 995-0184
Attorney for Plaintiff                                Email: fajenlaw@fajenmiller.com
                                                      Attorney for Defendants
   Case 2:17-cv-11033-RSW ECF No. 21 filed 12/19/17             PageID.69     Page 2 of 2



                                          ORDER
Pursuant to the above Stipulation,

       IT IS ORDERED that this matter is dismissed with prejudice and without costs.

       IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.




Dated: December 19, 2017                          s/R. Steven Whalen
                                                  Magistrate Judge R. Steven Whalen
                                                  United States District Magistrate Judge




                                              2
